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                                      #:5905


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  8
                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11 SERENA FLEITES,                               CASE NO. 2:21-CV-04920-CJC-ADS

 12          Plaintiff,

 13         v.
                                                 DISCOVERY DOCUMENT:
 14 MINDGEEK S.A.R.L.; MG                        REFERRED TO MAGISTRATE
                                                 JUDGE AUTUMN D. SPAETH
    FREESITES, LTD; MINDGEEK USA
 15 INCORPORATED; MG PREMIUM                      CIVIL LOCAL RULE 79-5.2.2
 16 LTD.; MG GLOBAL                               APPLICATION FOR LEAVE TO
                                                  FILE UNDER SEAL MATERIAL
    ENTERTAINMENT INC.; 9219-1568                 DESIGNATED BY ANOTHER
 17 QUEBEC, INC.; BERND BERGMAIR;                 PARTY AS CONFIDENTIAL
 18 FERAS ANTOON; DAVID                           PURSUANT TO A PROTECTIVE
                                                  ORDER
    TASSILLO; COREY URMAN; VISA
 19 INC.; COLBECK CAPITAL DOES 1-                 Date: March 8, 2023
 20 5; BERGMAIR DOES 1-5                          Time: 10:00 a.m.
                                                  Courtroom: 6B
 21                Defendants.                    Jurisdictional Discovery Cutoff:
                                                  May 1, 2023
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                                                                CASE NO. 21-CV-04920-CJC-ADS
      CIVIL LOCAL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
      DESIGNATED BY ANOTHER PARTY AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
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  1         Pursuant to Local Rules 79-5.2.2 and the Stipulated Protective Order entered
  2 by this Court on October 14, 2022 (Dkt. 187), Plaintiff hereby submits this
  3 Application for Leave to File Under Seal Material Designated by Another Party as
  4 Confidential Pursuant to a Protective Order. In support of this Application, Plaintiff
  5 states as follows:
  6         1.    Under the parties’ Protective Order, a party may designate material that
  7 it produces as “Confidential” if it qualifies for protection under Fed. R. Civ. P. 26(c),
  8 or as otherwise provided for in the parties’ Good Cause Statement.
  9         2.    As relevant to this Application, Plaintiff served Defendant Urman with
 10 her First Set of Interrogatories on August 17, 2022, and Defendant Urman provided a
 11 redacted version of his responses on September 22, 2022 as a protective order had not
 12 yet been entered. On October 17, 2022, Defendant Urman provided the unredacted
 13 version of his responses to Plaintiff with a “Confidential” designation. On December
 14 19, 2022 and February 7, 2023, Defendant Urman provided Plaintiff with
 15 supplemental responses to her first set of interrogatories. The supplements are also
 16 designated as “Confidential.” The Parties subsequently met and conferred concerning
 17 several disputes arising from Plaintiff’s requests and Defendant’s responses to those
 18 requests, but the Parties have not been able to resolve their differences.
 19         3.    On December 23, 2022, Plaintiff notified Defendant of her intent to file
 20 a motion to compel (“Plaintiff’s Motion to Compel”) responses to her requests for
 21 production and interrogatories. Plaintiff’s Motion to Compel, filed simultaneously
 22 herewith attaches as Exhibit 4 to the Declaration of John G. Doyle, Defendant
 23 Urman’s unredacted October 17, 2022 Objections and Responses to Plaintiff’s First
 24 Set of Interrogatories, and, as Exhibit 7, Defendant Urman’s Supplemental Objections
 25 and Responses to Plaintiff’s First Set of Interrogatories, which Defendant has
 26 designated as “Confidential.” Plaintiff’s motion also attaches as Exhibit 8, a copy of
 27 an employment agreement between Defendant Urman and a MindGeek Entity, which
 28 the MindGeek Entity Defendants have designated as “Confidential.” Similarly,
                                       1               CASE NO. 21-CV-04920-CJC-ADS
      CIVIL LOCAL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
      DESIGNATED BY ANOTHER PARTY AS CONFIDENTIAL PURSUANT TO A PROTECTIVE ORDER
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  1 Defendant Urman has attached to the joint stipulation Exhibit P, which contains the
  2 MindGeek Entity Defendants’ unredacted responses to Plaintiff’s First Set of
  3 Interrogatories, which the MindGeek Entity Defendants have also designated as
  4 “Confidential – Subject to Protective Order.” In addition, Defendant Urman has
  5 incorporated confidential portions of his Amended Supplemental Objections and
  6 Responses to Plaintiff’s First Set of Interrogatories, served on February 7, 2023, into
  7 his portion of the joint stipulation. The parties subsequently conferred and Defendant
  8 has indicated his intent to request that the material remain Confidential and under seal.
  9         4.     Pursuant to Local Rule 37-2.1, Plaintiff’s Motion to Compel contains the
 10 verbatim interrogatories at issue and any alleged insufficient responses. Plaintiff
 11 intends to redact these responses from the publicly filed version of the motion and to
 12 submit an unredacted version of the Motion to Compel, Plaintiff’s Exhibits 4, 7, and
 13 8, and Defendant’s Exhibit P under seal. The unredacted version of Plaintiff’s Motion
 14 to Compel and subject Exhibits 4, 7, 8, and P are attached to this Application.
 15         5.     Local Rule 79-5.2.2 provides that where a Filing Party seeks to file a
 16 document containing information previously designated as confidential by another
 17 pursuant to a protective order, and the document cannot be suitably redacted by
 18 agreement, the Filing Party may file an Application for Leave to File Under Seal. The
 19 Rule further requires the Filing Party to confer with the Designating Party at least 3
 20 days before seeking to file the document(s) under seal and, if sealing remains
 21 necessary, to serve a copy of the application and any supporting declaration on the
 22 Designating Party the same day the motion is filed, so that the Designating Party may,
 23 within four days, file a declaration that establishes why all or part of the designated
 24 material is sealable.
 25         6.     Accordingly, under Local Rule 79-5.2.2, Plaintiff is attaching to this
 26 Application an unredacted version of the Motion to Compel which contains the
 27 confidential excerpts from Defendants’ responses and accompanying Exhibits 4, 7, 8,
 28 and P – filed under seal.
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      CIVIL LOCAL RULE 79-5.2.2 APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
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  1         7.     Defendants have been served with a copy of this Application today
  2 through the CM/ECF system, and by email, as required by Local Rule 79-5.2.2.
  3
  4 DATED: February 8, 2023                  Respectfully Submitted
  5                                          BROWN RUDNICK LLP
  6
  7                                           By: s/ Michael J. Bowe
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 18
 19                                          Attorneys for Plaintiffs

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                                                3               CASE NO. 21-CV-04920-CJC-ADS
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